                                           Case 2:13-cv-00193 Document 738-5 Filed on 11/17/14 in TXSD Page 1 of 1




                                                 STEVE RABORN                                                        Secretary of State's Office
                                                                                                                                                                                                                                     PRESORTED
                                                 Voter Registrar, (817) 831-VOTE (8683)                              Elections Division                                                                                           FIRST-CLASS MAIL
                                                 2700 Premier Street
                                                                                                                     1-800-252-VOTE (8683)
                                                                                                                                                              RETURN SERVICE REQUESTED                                            U.S. POSTAGE PAID
                                                 Fort Worth, T X 76111                                                                                                                                                             FORT WORTH, TX
                                                 www.tarrantcounty.com/elections                                     www.sos.state.tx.us                                                                                           PERMIT NO. 1139

                                       o
                                                                     Scan barcode with smart phone or visit our website to find
                                                                     your election day polling place for county elections.
                                                                     Codlgo de barras de exploration con telefono (smart phone) o visita
              A                                                      nuestra pigina de Internet para encontrar su sitio de votacion de dia                   N4985436
                                                                     de la eleccion para elecciones de condado.
                                                                                                                                                          U.S. REP.          STATE S E N .      STATE REP.    C O M M . PCT.   J.P. P C T    TCC
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                                                                                                                                                                       .>     (Sen. Estalal [Rep Eslatal)        (Con Pet 1     UP Pd)
                                                                                                                                                                12                 12                99            01            05          TC1
                                                                    VOTER REGISTRATION CERTIFICATE                                                           CITY           crnr COUNCIL           ISD         ISD SEAT         SBOE        WATER
                                                                           (Certificado de Registro Electoral)
                                                                                                                                                            {Cudadl          C
                                                                                                                                                                             i onceO
                                                                                                                                                                                   i Murwcial     (Escuela;      fEsciiol                    <A«ai
                                                                                                                                                              FTW                 FW9              FTW            FW1            13         TRW
                                                V U I D - Voter Unique Identifier ID Exemp:     Gender (Sexo)   Valid f r o m (Vilido desdei                  Tarrant County C e r t . No. (Condado de Tarrant Num de Cert)
                                                (Identificador Unico de Votantei Exento de ID
                                                             1051617190                                  M                01/01/14
                                                                                                                                                                  1347682
                                                Y e a r of B i r t h lAno de Nacimiento)        Prec. No.       t h r u lhasta)
                                                                                                •;Pct. Num.)
                                                                                                                                                           Name and Mailing Address (Nombre y direction de correo)
                                                                                                     1684                 12/31/15
                                                Name and Permanent Residence Address (Nombre y direction residential permanente)

                                                   SERGIO LEON DELEON                                                                                         SERGIO LEON DELEON




                                                                                                                                                  <13 Q
                                                                                                                                                  II
                                                VOTER MUST PERSONALLY SIGN HIS/HER NAME IMMEDIATELY UPON RECEIPT, IF ABLE.
                                                (El votante debe firrnar es(a tarjeta personalmente ai punto de recibirla. si puede.)




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2:13-cv-193
                  exhibitsticker.com




09/02/2014

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